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§ .
IN THE UNITED sTATEs DISTRICT COURT 'm~
FOR THE wEsTERN DISTRICT oF TENNESSEE nw
wEsTERN DIVISION 95¢‘1.:“;\' 25 m r~. 0
RC-BF:H';' a 1

ctr-saa U§‘j'~.» ' ';'O

W".D, "` "' ` _“:f ' ‘~JT.
UNITED sTATEs oF AMERICA OPFN,mLMHnS

Plaintiff,

v_ criminal N@. Q§f- &/3‘_-¢ Mi
M /{/M

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSEN’I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good Cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Mav 27. 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

This document entered nn the dockets eat fn compliance
mm ama 55 arm/ur 32(b) aach on bfi Q;,X /O{

 

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SO ORDERED this 22nd day of April, 2005.

§§ WQ.QQ

JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

Assistant United States Attorney

 

 

 

 

 

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-20134 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

